                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                              CASE NO. 3:20-CV-643-DCK

 FCCI INSURANCE COMPANY,                         )
                                                 )
                                                 )
                              Plaintiff,         )
                                                 )             CONSENT JUDGMENT
    v.                                           )
                                                 )
 CHRISTOPHER B. HONEYCUTT, and                   )
 MATTIE S. HONEYCUTT, a/k/a                      )
 MATTIE S. SEAGRAVES,                            )
                                                 )
                              Defendants.        )



         THIS MATTER IS BEFORE THE COURT on Plaintiff FCCI Insurance Company and

Defendant Mattie S. Honeycutt’s “Joint Motion For Consent Judgment As To Mattie S.

Honeycutt, a/k/a Mattie S. Seagraves” (Document No. 25) filed November 30, 2021. The parties

have consented to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will grant the motion

         By the instant motion, counsel report that Plaintiff FCCI Insurance Company and

Defendant Mattie S. Honeycutt have entered into a Settlement Agreement, Release, and Covenant

Not to Execute, effective July 19, 2021 (the “Agreement”). (Document No. 25) (citing Document

No. 15). To effectuate that Agreement, the parties request that Judgment be entered in this case

against Mattie Honeycutt. (Document Nos. 25 and 25-1); see also (Document No. 19).

         Plaintiff’s claims against the Defendant Christopher B. Honeycutt are unresolved at this

time.



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        IT IS, THEREFORE, ORDERED that a Final Judgment is rendered in favor of Plaintiff

FCCI Insurance Company and against Defendant Mattie Honeycutt, individually, for the sum of

$205,000.00 (Two Hundred and Five Thousand Dollars) with interest thereon at the highest legal

rate until paid in full.

        SO ORDERED.


                                 Signed: November 30, 2021




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